                                UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF TENNESSEE
                                        AT COLUMBIA


    SHELLY VARNER AND PAMELA                            )
    ELLIOTT,                                            )
                                                        )   Docket No. 1:20-CV-00079
         Plaintiffs,                                    )
                                                        )
    v.                                                  )   JURY DEMAND
                                                        )
    GENERAL MOTORS LLC,                                 )   Judge Campbell
                                                        )   Magistrate Judge Holmes
         Defendant.                                     )
                                                        )



            STIPULATION OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE


           Pursuant to Fed. R. Civ. P. 21 1, and as indicated below by the respective signatures of the

counsel of record for the parties in this action, the parties give notice that all matters between

Plaintiff, Pamela Elliott, and Defendant, General Motors, LLC, have been compromised and

settled. Accordingly, Plaintiff voluntarily dismisses all claims in this case against Defendant,

without prejudice.

           The parties have completed a Settlement Agreement; however, one key term of the

resolution is that the settlement payments will be made in installments with the last installment to

be paid on March 31, 2023. As such, the parties agree that this dismissal will become a dismissal

with prejudice on April 1, 2023, after the final installment is received.




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    The rule of procedure indicated by the Court in its Order. (ECF 48).
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        This stipulation does not conclude the above-captioned case in its entirety as Ms. Varner’s

case is still ongoing. It is also stipulated that the parties shall bear their own costs, attorneys’ fees,

and discretionary costs incurred in this litigation.

                                                Respectfully submitted,

                                                /s Ashley Shoemaker Walter
                                                Heather Moore Collins (# 026099)
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                                CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing has been served this the 25th day of May 2022
through the court’s CM/ECF system and via email to Attorney for Defendant:

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                                             s/ Ashley Shoemaker Walter
                                             Ashley Shoemaker Walter




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